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                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF DELAWARE

AUTONOMOUS DEVICES LLC,                               )
                                                      )
               Plaintiff,                             )
                                                      )
       v.                                             )   C.A. No. 22-1466-MN
                                                      )
TESLA, INC.,                                          )
                                                      )
               Defendant.                             )
                                                      )


             SECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT

        Plaintiff Autonomous Devices, LLC (“Autonomous Devices”) demands a trial by jury on

 all issues triable and, for its complaint against Defendant Tesla, Inc. (“Tesla”), hereby alleges as

 follows:

                                   NATURE OF THE ACTION

        1.      This is an action for patent infringement arising under the patent laws of the

 United States, 35 U.S.C. § 1 et seq.

        2.      Tesla has infringed and continues to infringe at least the claims in table 1, shown

 below, one claim of each of U.S. Patent Nos. 10,452,974 (“the ’974 Patent”); 11,238,344 (“the

 ’344 Patent”); 11,055,583 (“the ’583 Patent”); and 11,663,474 (“the ’474 Patent”) (collectively,

 the “Autonomous Vehicle Patents”); 10,607,134 (“the ’134 Patent”) (the “Autonomous Vehicle

 Simulation Patent”) (the Autonomous Vehicle Patents and Autonomous Vehicle Simulation

 Patent collectively referred to as the “Asserted Patents”). See generally Exs. A-E.




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                                                Table 1

 U.S. Patent No.                                  Infringed Claims
 10,452,974                                       4-5, 14, 15
 11,238,344                                       3-17
 11,055,583                                       2, 4, 5, 9-19, 22, 24, 25, 27-29, 31, 33, 34
 10,607,134                                       1-5, 7, 10-15, 18, 19-20
 11,663,474                                       45-47,51-52, 56-57, 59-60, 68-69, 78, 80-81, 84

 Tesla has been on notice of its infringement of these claims since at least August 18, 2023, when

 Autonomous Devices served its infringement contentions detailing Tesla’s infringement of these

 claims.      Autonomous Devices infringement contentions for the claims in Table 1 are

 incorporated herein by reference. Autonomous Devices has disclaimed claims 1-3, 6, 8-10, 12,

 13, and 16-20 of the ’974 patent. For avoidance of confusion, references to claim 1 of the ’974

 patent are found herein because asserted claims 4, 5, 14 and 15 depend from claim 1. Similarly,

 Autonomous Devices disclaimed claims 1, 2, 19, and 20 of the ’344 patent. References to claim

 1 of the ’344 patent are found herein because asserted claims 3-17 depend from claim 1. ; see

 also the infringement contentions served on Tesla on August 18, 2023, which are incorporated

 herein by reference.

           2.3.   Tesla directly infringes the Asserted Patents by making, using, offering to sell,

 selling, and/or importing into the United States products and related services that incorporate

 Autonomous Devices’ patented autonomous driving, artificial intelligence (“AI”) and simulation

 technology.

           3.4.   Tesla indirectly infringes the Asserted Patents by inducing infringement by

 others, such as its consumers and end-users.

           4.5.   Autonomous Devices seeks damages and other relief for Tesla’s infringement of

 the Asserted Patents.


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                                          THE PARTIES

        5.6.    Autonomous Devices is a Florida Limited Liability Company, with its principal

 place of business at 2271 Myla Lane, Melbourne, Florida 32935.

        6.7.    On information and belief, Tesla is a company organized and existing under the

 laws of Delaware, with its principal place of business at 13101 Tesla Road, Austin, Texas 78725.

 Tesla may be served through its registered agent, Corporation Service Company, 251 Little Falls

 Drive, Wilmington, Delaware 19808.


                                  JURISDICTION AND VENUE

        7.8.    This lawsuit is an action for patent infringement arising under the patent laws of

 the United States, Title 35 of the United States Code.

        8.9.    This Court has subject matter jurisdiction over the action pursuant to 28 U.S.C. §§

 1331 and 1338(a).

        9.10.   This Court has personal jurisdiction over Tesla in that they have, directly or

 through agents and/or intermediaries, committed acts within Delaware giving rise to this action

 and/or have established minimum contacts with Delaware such that the exercise of jurisdiction

 would not offend traditional notions of fair play and justice.

        10.11. On information and belief, Tesla regularly conducts business in Delaware, and

 purposefully availed itself of the privileges of conducting business in Delaware. In particular, on

 information and belief, Tesla, directly and/or through its agents and/or intermediaries, makes,

 uses, imports, offers for sale, sells, and/or advertises its infringing products and services in

 Delaware. 1 Tesla has knowingly placed, and continues to knowingly place, infringing products



 1
  As discussed later, the accused products and services include at least Tesla Models S, 3, X, and
 Y vehicles utilizing Software Version 9.0 and beyond (“Vehicles with Infringing Software”)


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 and services into the stream of commerce, via an established distribution channel, with the

 knowledge and/or understanding that such products and services are sold in the United States

 including in Delaware and specifically including this District.

        11.12. On information and belief, Tesla has derived substantial revenue from its

 infringing activity occurring within the State of Delaware and within this District and/or should

 reasonably expect its actions to have consequences in Delaware. In addition, Tesla has

 knowingly induced and continues to knowingly induce infringement within this District by

 advertising, marketing, offering for sale and/or selling infringing products and services within

 this District to end customers by at least:


             • providing instructions within the Tesla iOS/Android application which facilitate,

                 direct, or encourage the use of infringing functionality;

             • providing instructions on vehicles which facilitate, direct, or encourage the use of

                 infringing functionality;

             • publishing YouTube videos, including at least Tesla’s various AI Days and

                 Autonomy Days, which facilitate, direct, or encourage the use of infringing

                 functionality; and

             • publishing other advertising and/or marketing materials which facilitate, direct, or

                 encourage the use of infringing functionality with knowledge thereof.


        12.13. Tesla has committed patent infringement in Delaware that has led to foreseeable

 harm and injury to Autonomous Devices.



 and/or the Dojo supercomputer (“Infringing Simulation Software”). Tesla Models S, 3, X and Y
 are collectively referred to as “Tesla Fleet Vehicles.”


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        13.14. Venue is proper in this judicial district under 28 U.S.C. § 1400(b) as Tesla is

 incorporated in the State of Delaware.


                                          BACKGROUND

 A.    Mr. Cosic Foresaw Issues Related To Autonomous Driving And Came Up With
 Concrete Solutions To Permit Functional And Safe Autonomous Vehicles.

        14.15. The inventor and CEO of Autonomous Devices, Jasmin Cosic, is a named

 inventor on over 70 U.S. patents and applications. Mr. Cosic is also the CEO of AwareGen, a

 research and development company that focuses on inventing and patenting foundational

 breakthrough technologies in the areas of AI, video, and VR/AR/MR. Mr. Cosic has a two-

 decade-long track record of inventing successful technologies. AwareGen previously sold a

 significant technology portfolio to an industry consortium including Microsoft, IBM, Oracle, and

 SAP.

        15.16. Given Mr. Cosic’s success in software, he continued to research and develop

 inventions relating to potentially helpful solutions for society. Such inventions include Mr.

 Cosic’s concrete solutions for significant problems relating to autonomous driving—a topic of

 the Asserted Patents.

        16.17. Mr. Cosic realized, among other things, that the only way to achieve the

 functionality of autonomously driven cars was through the use of a learning system including a

 neural network and/or other learning techniques embedded in a vehicle with sensors, such as

 optical cameras or radar. Mr. Cosic further realized that the use of fleet learning, where each

 driver’s actions within the fleet would be learned and correlated to the scene around the vehicle

 along with the vehicle’s actions, would address these issues related to how autonomous vehicles

 addressed a given situation. An added benefit of this, is that as the fleet grew, and more and more

 scenes and actions were collected and learned, a knowledgebase would be created and it could be


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 pushed to other vehicles so they could perform similar actions in response to similar scenes or

 circumstances.

        17.18. Mr. Cosic further realized that there were many highly unlikely scenarios that a

 human driver may face once or twice that an autonomous vehicle may encounter that would need

 to be accounted for in the learning system. For example, how should a vehicle react to a person

 running down the highway? So in addition to the fleet learning concepts discussed above, it

 would be necessary to simulate important but unlikely scenarios that could then be pushed to

 real-world cars. Furthermore, Mr. Cosic realized the crucial importance of autonomous driving

 simulations that would ensure the safety of the driving knowledge learned from the physical and

 simulated vehicles before the knowledgebase is released to all fleet vehicles and affects lives.

        18.19. As discussed below, the Asserted Patents do not claim autonomous driving in its

 totality. See generally Ex. F (Decl. of Dr. Saber). Rather, they are directed to concrete solutions

 to discrete issues facing autonomous devices, such as how to enable to autonomous device to

 operate similarly when confronted with a similar situation that other autonomous devices have

 faced in learning/training.


 B.    Tesla’s Autonomous Driving And Partial Self-Driving Technology Development
 From 2014 To 2018.

        19.20. The evolution of Tesla’s self-driving technology and its CEO’s, Mr. Elon Musk’s,

 promises concerning self-driving capabilities are well documented. 2,3 To understand the current



 2
   See, e.g., Keith Barry, Big Bets and Broken Promises: A Timeline of tesla’s Self-Driving
 Aspirations, Consumer Reports (Nov. 11, 2021), https://www.consumerreports.org/autonomous-
 driving/timeline-of-tesla-self-driving-aspirations-a9686689375/; Evan Nex, The Ultimate Tesla
 Autopilot Guide: How Has It Evolved Over The Years?, InsideEVs (Sep. 14, 2020),
 https://insideevs.com/news/443886/tesla-autopilot-evolution-history-ultimate-guide/; Cade Metz
 & Neal E. Boudette, Inside Tesla as Elon Musk Pushed an Unflinching Vision for Self-Driving
 Cars,      The    New      York     Times      (Dec.   6,   2021),    https://www.nytimes.com/


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 state of Tesla self-driving technology it is first helpful to understand the various driver assistance

 systems offered by Tesla—Tesla Autopilot, Tesla Enhanced Autopilot, and Tesla Full Self-

 Driving (FSD).

        20.21. Tesla Autopilot: Beginning in 2014, Tesla started equipping the Model S with

 hardware (HW1). 4 As shown below, the Autopilot software was initially released in October

 2015 and allowed for lane keeping and lane changing. 5




 2021/12/06/technology/teslaautopilot-elon-musk.html; Victor Tangermann, Watch Elon Musk
 Promise Self-Driving Cars "Next Year" Every Year Since 2014, Futurism (Jan. 19, 2022),
 https://futurism.com/video-elon-musk-promising-self-driving-cars.
 3
  Notably, this story is also the subject of a recent FX and New York Times documentary called
 “The New York Times Presents | Elon Musk’s Crash Course.” The documentary can be viewed
 on Hulu.
 4
    The Tesla Team, Dual Motor Model S and Autopilot, Tesla Blog (Oct. 10, 2014),
 https://web.archive.org/web/ 20191206043434/https://www.tesla.com/blog/dual-motor-model-s-
 and-autopilot.
 5
   Gabe Nelson, Tesla enables ‘autopilot’ for the Model S, promises a world without steering
 wheels, Automotive News (Oct. 15, 2015), https://www.autoweek.com/news/a1878736/tesla-
 enables-autopilot-model-s-promises-world-without-steering-wheels/.


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        21.22. Upon information and belief, the original Tesla “Autopilot” technology

 essentially consisted of two previously known driver assistance technologies that rely on

 cameras, sonar, and radar. 6 The first is adaptive cruise control (“ACC”) technology which uses

 radar to warn the driver if a vehicle ahead is slowing down and automatically brakes if the driver

 fails to take sufficient responsive action. The second driver-assistance technology on which the

 original Autopilot was based is lane keeping assistance (“LKA”). LKA evolved from lane

 departure warning (“LDW”) technology that warns the driver if the vehicle crosses a painted line

 on the roadway, whereas LKA controls steering inputs to keep a vehicle in its lane. Neither of

 these early technologies, alone or in combination, could produce an autonomous self-driving car

 as these technologies—notably—consisted of pre-coded programming and were not able to learn

 from the driver and/or a fleet of similar vehicles.

        22.23. Enhanced Autopilot: In October 2016, Tesla’s Autopilot sensors and computing

 hardware transitioned to hardware version 2 (HW2). 7 HW2 comprised eight cameras, twelve

 ultrasonic sensors, and a forward-facing radar unit. Tesla’s blog post announcement discussed

 the “crucial role” self-driving will play in our society as well as touting that “[f]ull autonomy

 will enable a Tesla to be substantially safer than a human driver, lower the financial cost of

 transportation for those who own a car and provide low-cost on-demand mobility for those who

 do not.” See, e.g., https://www.tesla.com/blog/all-tesla-cars-being-produced-now-have-full-self-

 driving-hardware.



 6
   Keith Barry, Guide to Lane Departure Warning and Lane Keeping Assist, Consumer Reports
 (June 28, 2017), www.consumerreports.org/car-safety/lane-departure-warning-lane-keeping-
 assist-guide-a7087080070/.
 7
   Chris Davies, Tesla Enhanced Autopilot: What 8.1 is (and isn’t) and 2016 will bring , Slash
 Gear (Dec. 22, 2016), https://www.slashgear.com/tesla-enhanced-autopilot-what-8-1-is-and-isnt-
 and-2016-will-bring-22468524.


                                                   8
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 Id.


        23.24. By August 2017, Tesla announced hardware version 2.5 (HW2.5). 8 HW2.5 added

 some added computing and wiring redundancy compared to HW2, causing some at Tesla to refer

 to it as HW2.1. Upon information and belief, Tesla’s infringement of the Autonomous Vehicle

 Patents did not begin until the release of Software Version 9.0, which was released around

 October 5, 2018. 9


 C.     Late 2018-Present: Tesla’s Infringement Of The Asserted Patents With The
 Releases Of Software Version 9.0, Tesla Vision, Hardware Version 3, And The Dojo
 Supercomputer.




 8
   Andrew J. Hawkins, Tesla has been working on a backup plan in case its self-driving promises
 fail, The Verge (Aug. 9, 2017), https://www.theverge.com/2017/8/9/16119746/tesla-self-driving-
 hardware-upgrade-hw-2-5.
 9
   The Tesla Team, Introducing Software Version 9.0, Tesla Blog (October 5, 2018), https://www
 .tesla.com/blog/introducing-software-version-9.


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         24.25. Tesla began infringing the Asserted Patents in October 2018 with the release of

  Software Version 9.0. Software Version 9.0 included Navigate on Autopilot (software that

  enabled guiding the car from a highway’s on-ramp to off-ramp) 10 and 360-degree visualization

  software for showing vehicles, bikes/motorcycles, light duty trucks and heavy-duty trucks. 11

         25.26. In March 2019, Tesla transitioned to hardware version 3 (HW3). 12 In August

  2020, Tesla announced that it was training its car computers in a simulation using the “Dojo”

  neural net training super computer. 13 Upon information and belief, Tesla was using simulations

  to train its fleet and test its Software Version 9.0 in 2018.

         26.27. Despite the 2019 introduction, notably, Tesla “pre-sold” vehicles with “Enhanced

  Autopilot” and “FSD” capable hardware before these capabilities were released. As explained in

  one 2016 article, “all new Tesla’s include the hardware required for the cars to drive

  autonomously. That ability is likely years away, but the company wants its current cars to be able

  to drive themselves when the software is ready in 5-10 years. The company is even including the

  hardware in all the cars free of charge — though if you want to actually use it, it’ll cost you a

  good chunk of change: $8,000 if you pay for it up front, rising to as much as $10,000 if you

  decide to unlock it later. The new ‘Enhanced Autopilot’ — basically more advanced version of

  the current Autopilot system (well, it will be eventually, once Tesla finishes testing it) — is a

  $5,000 option on the Model X and the Model S at purchase, rising to $6,000 if you enable it after
  10
     The Tesla Team, Introducing Navigate on Autopilot, Tesla Blog (Oct. 26, 2018), https://www.
  tesla.com/blog/introducing-navigate-autopilot.
  11
     The Tesla Team, Introducing Software Version 9.0, Tesla Blog (October 5, 2018), https://www
  .tesla.com/blog/introducing-software-version-9.
  12
     Tom Simonite, Tesla’s New Chip Holds the Key to ‘Full Self-Driving,’ Wired (Apr. 24, 2019),
  https://www.wired.com/story/teslas-new-chip-holds-key-full-self-driving/.
  13
    Mike Brown, Telsa Dojo: Why Elon Musk Says Full Self-Driving Is Set for ‘Quantum Leap’,
  Inverse (Aug. 19, 2020), https://www.inverse.com/innovation/tesla-dojo-self-driving-vehicles.


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  delivery.… Then there’s ‘Full Self-Driving Capability,’ which will cost $3,000 at delivery or

  $4,000 later. It requires Enhanced Autopilot and will, according to Tesla, eventually allow the

  car to drive itself in all conditions.” 14

            27.28. In April 2019, shortly after HW3 was released and at Tesla’s “Autonomy Day,”

  Musk, announced that Tesla vehicles would be capable of full self-driving in dense urban areas

  like San Francisco and New York by the end of 2019. 15

            28.29. In October 2020, Tesla released a “beta” version of its FSD software in the

  United States. 16

            29.30. In January 2021, just after Tesla’s FSD beta was released, Tesla reported $721

  million in profit in 2020, its first profitable year. 17 In a January 2021 earnings call that followed,

  Musk stated that “Tesla Autopilot is capable of full self-driving.” Musk also stated, “I’m highly

  confident the car will drive itself for the reliability in excess of a human this year. This is a very

  big deal.” 18

            30.31. A year later, in January 2022, Musk stated on an earnings call, that “I think [Tesla

  is] completely confident at this point that [FSD] will be achieved. And my personal guess is that

  14
    Jordan Golson, Tesla’s Self-Driving Care Hardware Will Run You $8,000, The Verge (Oct.
  20, 2016), https://www.theverge.com/2016/10/20/13346512/tesla-self-driving-autonomous-
  enhanced-autopilot-cost.
  15
         Tesla,  Tesla     Autonomy     Day    2019,     YouTube      (Apr.    22,    2019),
  www.youtube.com/watch?v=Ucp0TTmvqOE; Todd Lassa, Tesla Promises Full Level 5
  Autonomy by End of 2019, Model 3 Robotaxis by 2020, Motor Trend (Apr. 23, 2019),
  https://www.motortrend.com/news/tesla-autonomous-driving-level-5-model-3-robotaxi/.
  16
    Alexander Stoklosa, Tesla Puts ‘Beta’ Version of Full Self-Driving Capability in Hands of
  Select Few, Motortrend News (Oct. 22, 2020), https://www.motortrend.com/news/tesla-full-self-
  driving-beta-capability-testing/.
  17
    Neal Boudette, Tesla Has First Profitable Year, but Competition Is Growing, New York
  Times (Jan. 27, 2021), https://www.nytimes.com/2021/01/27/business/tesla-earnings.html.
  18
       https://www.rev.com/blog/transcripts/tesla-inc-tsla-q4-2020-earnings-call.


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  we’ll achieve full self-driving this year, yeah, with data safety level significantly greater than the

  present. So it’s — you know, the cars in the fleet essentially becoming self-driving by a software

  update, I think, might end up being the biggest increase in asset value of any asset class in

  history. We shall see.” 19

          31.32. Shortly after Musk’s January 2022 statements, Tesla announced that it was going

  to be removing the radar from future cars and would transition to an entire “Tesla Vision”

  camera based approach. 20




          32.33. On information and belief, Mr. Musk’s continued assurances have caused

  engineers within Tesla to cut corners in an effort to accelerate the progress of Tesla’s

  autonomous driving functionality. For instance, Tesla’s continued promises that Tesla cars




  19
    Motley Fool Transcribing, Tesla (TSLA) Q4 2021 Earnings Call Transcript, Motley Fool (Jan.
  27,    2022),       https://www.fool.com/earnings/call-transcripts/2022/01/27/tesla-tsla-q4-2021-
  earnings-call-transcript/.
  20
     Tesla, Tesla Vision Update: Replacing Ultrasonic Sensors with Tesla Vision, Tesla Support,
  https://www.tesla.com/support/transitioning-tesla-vision.


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  would soon be able to provide “Full Self-Driving” and Musk’s repeated assurances “took the

  Tesla engineering team by surprise.” 21




  “Several key Tesla engineering managers working on its Autopilot . . . driving feature left the

  company after CEO Elon Musk told some employees he was unhappy with the progress in

  developing fully automated driving capabilities.” 22 As noted after the recent departure of AI and

  Autopilot project head Andrej Karpathy, “[Karpathy’s departure] adds to a long line of turnover

  atop the Autopilot group, which has struggled to realize Elon Musk’s autonomous ambitions.” 23


         33.34. Tesla’s infringement of Autonomous Device’s patents not only saved Tesla time

  and money, but it has also helped to propel Tesla to the forefront of AI and autonomous driving

  solutions, a result that is of significant financial benefit to Tesla. Indeed, Mr. Musk has publicly

  21
    Cade Metz & Neal E. Boudette, Inside Tesla as Elon Musk Pushed an Unflinching Vision for
  Self-Driving Cars, The New York Times (Dec. 6, 2021), https://www.nytimes.com/2021/
  12/06/technology/teslaautopilot-elon-musk.html.
  22
     Amir Efrati, Frustrated Musk Shakes Up Autopilot Team, The Information (July 9, 2019),
  https://www.theinformation.com/articles/frustrated-musk-shakes-up-autopilot-team.
  23
    Mark Gurman and Ed Ludlow, Tesla Autopilot chief to depart, adding to upheaval in executive
  ranks, Driving (July 16, 2022), https://driving.ca/auto-news/industry/tesla-autopilot-chief-to-
  depart-adding-to-upheaval-in-executive-ranks.


                                                  13
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  stated that Tesla’s autonomous driving technology will not be available through open source

  because of how valuable it is to Tesla and that Tesla will instead license its technology to other

  automakers. 24 Tesla’s refusal to apply an open source philosophy to its autonomous driving

  technology demonstrates the high value of the technology and contradicts the “Open Source

  Revolution” intended to “accelerate the advent of sustainable transport” announced by Mr. Musk

  in 2014. 25

          34.35. Upon information and belief, Tesla’s infringement of the Autonomous Vehicle

  Object Representation and Digital Picture Patents began with Software Version 9.0 and beyond

  running on the Model S, 3, X, and Y alone or in combination with the Dojo supercomputer.

          35.36. Upon information and belief, Tesla’s infringement of the Autonomous Vehicle

  Simulation Patents began with Tesla’s use of the Dojo supercomputer.


                                   THE ASSERTED PATENTS

          36.37. The following section describes the background of the Asserted Patents and why

  they are each directed to specific improvements in autonomous driving and AI as well as

  containing at least one or more inventive concepts. The description of each patent is supported

  by the declaration of Dr. Saber attached hereto as Exhibit G and incorporated herein by

  reference.

          37.38. Today, for the first time in 130 years, we are in the midst of a major

  transformation in automobile transportation. In contrast to the personally owned, gasoline-


  24
     Tesla, Tesla AI Day 2021, YouTube (Aug. 19, 2021), https://www.youtube.com/
  watch?v=j0z4FweCy4M at 2:13:40.
  25
    Matthew Rimmer, Tesla Motors’ Open Source Revolution: Intellectual Property and the
  Carbon Crisis, Medium (Jun. 15, 2014), https://drrimmer.medium.com/tesla-motors-open-
  source-revolution-intellectual-property-and-the-carbon-crisis-95259ff867e6.


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  powered, human-driven vehicles that have dominated the last century, we are transitioning to

  mobility services based on electric-powered and driverless vehicles. As such, companies, such as

  Tesla, have spent an enormous sum of money in the pursuit of autonomous driving with the goal

  being full-self driving (where a vehicle drives itself without the need for human intervention) and

  have adopted a solution that infringes Autonomous Devices’ Patents.


  A.     The Object Representation Patents (U.S. Patent Nos. 10,452,974; 11,238,344; and
  11,663,474) Are Directed To Concrete Solutions Addressing How A Fleet Of Autonomous
  Vehicles Detect And Handle Different Driving Conditions Based On Captured Objects. 26

         38.39. On October 22, 2019, the U.S. Patent and Trademark Office duly and legally

  issued the ’974 Patent, entitled “Artificially intelligent systems, devices, and methods for

  learning and/or using a device’s circumstances for autonomous device operation” to inventor

  Jasmin Cosic. Autonomous Devices owns all rights to the ’974 Patent necessary to bring this

  action. A true and correct copy of the ’974 Patent is attached hereto as Exhibit A and

  incorporated herein by reference.

         39.40. On February 2, 2022, the U.S. Patent and Trademark Office duly and legally

  issued the ’344 Patent, entitled “Artificially intelligent systems, devices, and methods for

  learning and/or using a device’s circumstances for autonomous device operation” to inventor

  Jasmin Cosic. Autonomous Devices owns all rights to the ’344 Patent necessary to bring this

  action. A true and correct copy of the ’344 Patent is attached hereto as Exhibit B and

  incorporated herein by reference.

         40.41. On May 30, 2023, the U.S. Patent and Trademark Office duly and legally issued

  the ’474 Patent, entitled “Artificially intelligent systems, devices, and methods for learning


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   The terms “object representation” or “representation of objects” are used interchangeably and
  mean the same thing as the Asserted Patents use of “circumstance representation.”


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  and/or using a device's circumstances for autonomous device operation” to inventor Jasmin

  Cosic. Autonomous Devices owns all rights to the ’474 Patent necessary to bring this action. A

  true and correct copy of the ’474 Patent is attached hereto as Exhibit D and incorporated herein

  by reference.

         41.42. Prior to the innovations in the ’974, ’344,. Aand ’474 Patents (herein the “Object

  Representation Patents”), “[d]evices or systems commonly operate[d] by receiving a user’s

  operating directions in various circumstances. Instructions [were] then executed to effect the

  operation of a device or system based on [the] user’s operating directions. Hence, devices or

  systems rel[ied] on the user to direct their behaviors. Commonly employed device or system

  operating techniques lack[ed] a way to learn [the] operation of a device or system and enable

  autonomous operation of a device or system.” Ex. B (’344 Patent) at 1:39-47; see also Ex. F

  (Decl. of Dr. Saber) at ¶¶ 28-31.

         42.43. In the prior art, there were also methods for performing assisted driving. See Ex. F

  at ¶¶33-34. For example, there were lane-keeping assist systems that detected lane markers

  (white/yellow) on the road and assisted the driver in keeping the vehicle between lane markers.

  Id. There were also intelligent cruise control systems that measured the distance from the vehicle

  ahead and controlled the acceleration and deceleration to automatically maintain a suitable

  following distance. Id. Part of the difficulty was that prior art driver assistance aids were pre-

  coded into the system, e.g., keep a certain distance from the lead vehicle, maintain the vehicle

  between the lines on the road, etc. Id. Pre-coding responses to objects was not sufficiently

  precise to enable autonomous device operation across the vast array of conditions a vehicle may

  come across on a daily basis. Id.




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         43.44. As discussed above, known “techniques lack[ed] a way to learn [the] operation of

  a device or system and enable autonomous operation of a device or system.” ’974 Patent at 1:26-

  35. Indeed, the “[p]rior art discloses a system that explores its own environment on its own”

  without any learning from a user’s instructions. Ex. G (’974 Patent NOA) at 14; see also Ex. M

  (’344 Patent NOA) at 12 (reciting similar reasons). And the “[p]rior art does not disclose the

  first and the second correlations that each include a circumstance representation correlated with

  instruction sets.” Ex. G (’974 Patent NOA) at 14; see also Ex. M (’344 Patent NOA) at 12

  (reciting similar reasons).

         44.45. The Object Representation Patents are generally directed to systems, methods and

  computer readable mediums that store a knowledgebase that correlates device operating

  instruction sets with objects encountered by a device, obtain new objects representation using

  device sensors, match the new objects with objects in the knowledgebase, and cause a device that

  detected the new objects to autonomously execute an instruction set correlated to the matched

  objects. The autonomously performed operation is based on a correlation learned in a learning

  process that includes operating a device at least partially by a user.

         45.46. For example, if a second autonomous vehicle detects a object representation (e.g.,

  objects such as vehicles or people in the road) and the knowledgebase has a similar circumstance

  representation that matches with the detected objects, then the second autonomous vehicle

  performs an instruction set (e.g., braking) at least partially learned by operating a first

  autonomous vehicle. See Ex. F (Decl. of Dr. Saber) at ¶ 39.

         46.47. Referring to Figure 38 and the specification description of Figure 38, for example,

  vehicle 98 includes sensors 92, such as a camera 92 that detect objects 615aa-ad (people,

  boulders, materials, vehicles, etc.) in the vehicle’s 98a’s surrounding in the form of a




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  circumstance representation (i.e. one or more object representations). 27 Ex. B (’344 Patent) 28 at

  162:48-163:16; Fig. 38. If a vehicle’s computer(s) detect a match with a previously learned

  circumstance representation 525 (e.g., one or more detected objects), the vehicle 98 performs

  autonomous operation using previously learned instructions 526 correlated with the previously

  learned circumstance representations. Ex. B (’344 Patent) at 163:36-164:5. The corresponding

  claimed features were not well-understood, routine or conventional as of the priority date of the

  Object Representation Patents. See Ex. F (Decl. of Dr. Saber) at ¶¶39-44.




            47.48. The memory of the device performing the autonomous operation stores a

  knowledgebase that correlates instructions for performing the operation with the stored

  circumstance representation.        When there is at least a partial match between the stored

  circumstance representation and the current circumstance representation, the operation is

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       Figure citations include the specification discussion of each figure.
  28
    The Object Representation Patents share a specification. For simplicity, all citations are to the
  ’344 Patent.


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  autonomously performed by the device that matched the current and stored circumstance

  representations. Id. The corresponding claimed features were not well-understood, routine or

  conventional as of the priority date of the Object Representation Patents. See Ex. F (Decl. of Dr.

  Saber) at ¶¶ 39-44.

         48.49. With the innovations in the Object Representation Patents, autonomous device

  operation using a knowledgebase (e.g., a system including a neural network and previously

  learned circumstance representations (e.g., one or more object representations) correlated with

  instructions) that is trained by a fleet of vehicles became possible. See, e.g., Ex. B (’344 Patent)

  at 164:6-28; see also id. at 15:36-45; 38:54-40:34; 82:6-14; 95:15-96:25; 103:35-105:22; 108:40-

  44; see Ex. F (Decl. of Dr. Saber) at ¶43-44. The corresponding claimed features were not well-

  understood, routine or conventional as of the priority date of the Object Representation Patents.

  See Ex. F (Decl. of Dr. Saber) at ¶¶43-44.

         49.50. Thus, by utilizing the autonomous device operating techniques disclosed in the

  Object Representation Patents, a vehicle can perform autonomous operations based on

  previously learned circumstances and instructions. See Ex. F (Decl. of Dr. Saber) at ¶¶ 39-45.

  For at least the above-mentioned reasons, the claimed inventions improve the capabilities of

  autonomous devices that employ the systems and methods disclosed in the Object Representation

  Patents. Id. Further, the methods claimed in the Object Representation Patents cannot be

  performed as mental steps by a human, nor do they represent the application of a generic

  computer to any well-known method of organizing human behavior. Id.

         50.51. The claims of the Object Representation Patents are directed to patent-eligible,

  non-abstract ideas in that they provide technical solutions to at least the technical problems

  described above. For instance, the claims of each Object Representation Patent, as a whole, is




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  inventive and novel, as are at least the herein identified claim limitations. See, e.g., Ex. A (’974

  Patent) at claim 4, which depends from claim 1 (“a learning process that includes operating the

  first device at least partially by a user” and “the second device autonomously performs one or

  more operations defined by the first one or more instruction sets for operating the first device

  learned in the learning process”), claim 18 (“a learning process that includes operating the first

  device at least partially by a user” and “causing … the second device to perform one or more

  operations defined by the first one or more instruction sets for operating the first device learned

  in the learning process at least by causing the one or more processor circuits or another one or

  more processor circuits to execute the first one or more instruction sets for operating the first

  device learned in the learning process”); Ex. B (’344 Patent) at claim 3, which depends from

  claim 1 (“a learning process that includes operating the first device at least partially by a user”

  and “the second device autonomously performs one or more operations defined by the first one

  or more instruction sets for operating the first device”); Ex. D (’474 Patent) at claims 45, 47, 51,

  56. Moreover, claim 3 of the ’344 Patent and claim 14 of the ’974 Patent, as a whole, are

  inventive and novel, as are at least the herein identified claim limitations. See, e.g., Ex. A (’974

  Patent) at claim 14 (“ wherein the first circumstance representation includes: one or more object

  representations, or one or more collections of object representations, and wherein the second

  circumstance representation includes: one or more object representations, or one or more

  collections of object representations, and wherein the third circumstance representation includes:

  one or more object representations, or one or more collections of object representations.”); Ex. B

  (’344 Patent) at claim 3 (“wherein the first circumstance representation includes a first one or

  more object representations, and wherein the second circumstance representation includes a

  second one or more object representations”); Ex. D (’474 Patent) at claims 45-46. As of the




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  priority date of the ’974 and ’344 Patents, the concept of causing a device to perform

  autonomous operation based on (i) representations of that device’s circumstances (which may

  include one or more object representations) and (ii) representations of circumstances (which may

  include one or more object representations) and instructions learned from that device or another

  device was not well-understood, routine, or conventional. See Ex. F (Decl. of Dr. Saber) at ¶¶

  45-46. This is a vast improvement over the prior art discussed herein. See Ex. F (Decl. of Dr.

  Saber) at ¶¶ 39-48.

         51.52. The claimed features unlocked the next level of autonomous driving. Id. By

  allowing the entire fleet to train the system, much more precise and appropriate reactions to

  driving conditions became possible. Id. This is so because the massive number of scenarios

  encountered by the fleet could be distilled into a set of circumstances (which may include one or

  more objects) and corresponding instructions that can be efficiently performed autonomously.

  Id.

         52.53. The claims of the Object Representation Patents recite one or more inventive

  concepts rooted in computerized technology that overcome technical problems in that field. Id. at

  ¶¶ 44-48. A person of ordinary skill in the art reading the Object Representation Patents and their

  claims would understand that the Object Representation Patents’ disclosures and claims are

  drawn to solving specific technical problems arising in artificially intelligent and autonomous

  devices and systems. Id. Accordingly, each claim of the Object Representation Patents recites a

  combination of elements sufficient to ensure that the claim in practice amounts to significantly

  more than a patent claiming an abstract concept. Id. Further, the claimed improvements over the

  prior art are concrete and improve the capabilities of existing autonomous and AI systems. Id.




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          53.54. A person of ordinary skill in the art reviewing the specification of the Object

  Representation Patents would understand that the inventor had possession of the claimed subject

  matter and would know how to practice the claimed invention without undue experimentation.

  See id. at ¶ 49.


  B.    The Digital Picture Patent (11,055,583) Is Directed To Concrete Solutions
  Addressing How A Fleet Of Autonomous Vehicles Detect And Handle Different Driving
  Conditions Based On Digital Pictures Captured By The Vehicle And Correlated To
  Learned Driving Instructions.

          54.55. On July 6, 2021, the U.S. Patent and Trademark Office duly and legally issued the

  ’583 Patent, entitled “Machine learning for computing enabled systems and/or devices” to

  inventor Jasmin Cosic. Autonomous Devices owns all rights to the ’583 Patent necessary to

  bring this action. A true and correct copy of the ’583 Patent is attached hereto as Exhibit E and

  incorporated herein by reference.

          55.56. Prior to the innovations in the’583 Patent (herein the “Digital Picture Patent”),

  “devices or systems [were] limited to relying on the user to direct them.” Ex. E (’583 Patent) at

  1:31-39 (“These systems and/or devices depend on user’s input to various degrees for their

  operation. A machine learning solution [was] needed for computing enabled systems and/or

  devices to be less dependent on or fully independent from user input.”); see Ex. F (Decl. of Dr.

  Saber) at ¶¶ 30, 32.

          56.57. As previously discussed, there were prior art methods for performing assisted

  driving, including lane-keeping assist systems and intelligent cruise control systems. See Ex. F

  (Decl. of Dr. Saber) at ¶¶ 33-36. But those prior art systems had disadvantages including the

  inability to respond to the vast array of objects a vehicle may come across on a daily basis. Id.

  In allowing the ’583 Patent, for example, the examiner explained that the prior art fails to




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  disclose learning the correlation between an image and an instruction set. Ex. N (’583 Patent

  NOA) at 13.

         57.58. The ’583 Patent is generally directed to systems, methods, and non-transitory

  machine-readable mediums for correlating an instruction set for operating a first device with

  digital pictures, obtaining a new digital picture, and in response to matching the new digital

  picture with a correlated digital picture causing the device that obtained the new digital picture to

  perform operations defined by the instruction set correlated to the matched digital picture. The

  instruction set for operating the first device may be executed by a second device in response to

  the second device matching the new picture with the picture correlated to the instruction sets.

         58.59. For example, if a second vehicle receives a new digital picture of people and/or

  vehicles in the road and the knowledgebase has a similar digital picture that matches with the

  new digital picture, then the second vehicle autonomously performs an instruction set (e.g.,

  braking) at least partially learned by operating a first vehicle. See Ex. F (Decl. of Dr. Saber) at

  ¶¶ 52-53.

         59.60. Referring to Figure 38 of the ’583 Patent, for example, the vehicle 98a includes

  sensors 90, such as a camera 90a that detect the vehicle’s surroundings in the form of a digital

  picture. Ex. E (’583 Patent) at 152:33-154:39, Figs. 37-38. If the vehicle’s computer(s) detect a

  match with a previously learned digital picture 525, the vehicle 98 performs autonomous

  operation using previously learned instructions 526 correlated with the previously learned digital

  picture. Ex. E (’583 Patent) at 154:14-24. The memory correlates instructions for performing an

  operation with the stored digital picture and when there is a match or partial match with the

  digital picture the operation is autonomously performed. Ex. E (’583 Patent) at 154:14-24. The




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  corresponding claimed features were not well-understood, routine or conventional as of the

  priority date of the Digital Picture Patent. See Ex. F (Decl. of Dr. Saber) at ¶¶ 50-55.

         60.61. The memory of the device performing the autonomous operation stores a

  correlation between instructions for performing an operation and a digital picture. When there is

  at least a partial match between the stored digital picture and a new digital picture, the operation

  is autonomously performed by the device that matched the new and stored digital pictures. Id. at

  54. The corresponding claimed features were not well-understood, routine or conventional as of

  the priority date of the Digital Picture Patent. See Ex. F (Decl. of Dr. Saber) at ¶ 50-55.

         61.62. With the innovations in the Digital Picture Patent, autonomous device operation

  using a memory with instruction and picture correlations (e.g., a system including a neural

  network and previously learned digital pictures correlated with instructions) that is trained by a

  fleet of vehicles became possible. See, e.g., Ex. E (’583 Patent) at 14:54-62, Figs. 31-35; see Ex.

  F (Decl. of Dr. Saber) at ¶ 55. The corresponding claimed features were not well-understood,

  routine or conventional as of the priority date of the Digital Picture Patent. See Ex. F (Decl. of

  Dr. Saber) at ¶¶ 50-55.

         62.63. Thus, by utilizing the autonomous device operating techniques disclosed in the

  Digital Picture Patent, a vehicle can perform autonomous operations based on previously learned

  pictures and instructions. For at least the above-mentioned reasons, the claimed inventions

  improve the capabilities of autonomous devices that employ the systems and methods disclosed

  in the Digital Picture Patent. Further, the methods claimed in the Digital Picture Patent cannot be

  performed as mental steps by a human, nor do they represent the application of a generic

  computer to any well-known method of organizing human behavior. See Ex. F (Decl. of Dr.

  Saber) at ¶ 56.




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         63.64. The claims of the Digital Picture Patent is directed to patent-eligible, non-abstract

  ideas in that they provide technical solutions to at least the technical problems described above.

  The claims relate to identifying similarities in images detected by a vehicle’s sensors that are

  similar to previously learned digital images that when match, cause the vehicle to execute

  previously learned instructions corresponding to the similar image. For instance, claims 1 and 4

  of the ’583 Patent, as a whole, are inventive and novel, as are at least the herein identified claim

  limitations. See, e.g., Ex. E (’583 Patent) at claims 1, 4 (“receiving or generating a first one or

  more instruction sets for operating the first device” and “causing … a second device to perform

  one or more operations defined by the first one or more instruction sets for operating the first

  device.”) As of the priority dates of the Digital Picture Patent, the concept of causing a device to

  perform autonomous operation based on (i) digital pictures captured by a device and (ii) digital

  pictures and instructions learned from that device or another device was not well-understood,

  routine, or conventional. See Ex. F (Decl. of Dr. Saber) at ¶¶ 55-56. This is a vast improvement

  over the prior art discussed herein. Id.

         64.65. The claimed features unlocked the next level of autonomous driving. Ex. F (Decl.

  of Dr. Saber) at ¶ 57. By allowing the entire fleet to train the system, much more precise and

  appropriate reactions to driving conditions became possible. Id. This is so because the massive

  number of scenarios encountered by the fleet could be distilled into a set of digital pictures and

  corresponding instructions that can be efficiently performed autonomously. Id.

         65.66. The claims of the Digital Picture Patent recite one or more inventive concepts

  rooted in computerized technology that overcome technical problems in that field. Id. at ¶ 58. A

  person of ordinary skill in the art reading the Digital Picture Patent and their claims would

  understand that the Digital Picture Patent’s disclosures and claims are drawn to solving specific




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  technical problems arising in artificially intelligent and autonomous devices and systems.

  Accordingly, each claim of the Digital Picture Patent recites a combination of elements sufficient

  to ensure that the claim in practice amounts to significantly more than a patent claiming an

  abstract concept. Id. Further, the claimed improvements over the prior art are concrete and

  improve the capabilities of existing autonomous and AI systems. Id. at ¶¶ at 55-58.

             66.67. A person of ordinary skill in the art reviewing the specification of the Digital

  Picture Patent would understand that the inventor had possession of the claimed subject matter

  and would know how to practice the claimed invention without undue experimentation. See id.

  at ¶ 59.


  C.     The Autonomous Vehicle Simulation Patent (U.S. Patent No. 10,607,134) Are
  Directed To Concrete Solutions Addressing How An Avatar–Such As A Simulated
  Vehicle—Can Be Taught How To Safely Handle Driving Situations Via Pictures Or Object
  Representations In A Simulation.

             67.68. On March 31, 2020, the U.S. Patent and Trademark Office duly and legally issued

  the ’134 Patent, entitled “Artificially intelligent systems, devices, and methods for learning

  and/or using an avatar’s circumstances for autonomous avatar operation” to inventor Jasmin

  Cosic. Autonomous Devices owns all rights to the ’134 Patent necessary to bring this action. A

  true and correct copy of the ’134 Patent is attached hereto as Exhibit C and incorporated herein

  by reference.

             68.69. The ’134 Patent (herein the “Autonomous Vehicle Simulation Patent”) is directed

  to advances in AI, autonomous driving, and simulation technology. For example, as discussed in

  the specification of the ’134 Patent: “Applications and/or avatars thereof commonly operate by

  receiving a user’s operating directions in various circumstances. Instructions are then executed to

  effect the operation of an application and/or avatar based on user’s operating directions. Hence,




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  applications and/or avatars rely on the user to direct their behaviors.” Ex. C (’134 Patent) at 1:26-

  35; see Ex. F (Decl. of Dr. Saber) at ¶¶60-65. However, the prior “[c]ommonly employed

  application and/or avatar operating techniques lack a way to learn operation of an application

  and/or avatar and enable autonomous operation of an application and/or avatar.” Ex. C (’134

  Patent) at 1:26-35; see also Ex. F (Decl. of Dr. Saber) at ¶61. According to the patent examiner,

  there were references that discussed semi-autonomous operation of avatars in games, relieving

  users of some of the tasks needed to operate the avatar, but those references contained little

  description of how the avatar performed its autonomous operations. Ex. O (’134 Patent NOA) at

  16.

         69.70. The claims of Autonomous Vehicle Simulation Patent are directed to systems,

  methods and computer readable mediums that allow an avatar or object (i.e., a simulated car) in a

  program (i.e., an autonomous vehicle simulation) to autonomously perform operations in

  response to an acquired image or object representations at least partially matching an image or

  object representations stored in a memory. See Ex. F (Decl. of Dr. Saber) at ¶ 62.

         70.71. Specifically, the ’134 Patent is generally directed to innovations including

  correlating object representations with instruction sets for operating a first avatar of an

  application, obtaining a second one or more object representations, looking for a match between

  the second object representations and the first object representations, and in response to finding a

  match causing a second avatar of the application to perform operations defined by the instruction

  set corresponding to the matched object representation. For example, if a second avatar detects

  object representations (e.g., objects such as simulated vehicles or simulated people in the road)

  and the system has similar object representations that match with the detected objects, then the

  second avatar performs an instruction set (e.g., braking). See Ex. F (Decl. of Dr. Saber) at ¶ 63.




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         71.72. The corresponding claimed features were not well-understood, routine or

  conventional as of the priority date of the Autonomous Vehicle Simulation Patents. See Ex. F

  (Decl. of Dr. Saber) at ¶¶60-72.

         72.73. The system with the object/avatar performing the autonomous operation stores

  correlation between instructions for performing the operation with the stored digital pictures

  representation. When there is at least a partial match between the stored digital picture and the

  current digital picture, the operation is autonomously performed on an object and/or avatar that

  captured the current digital pictures that were matched to the stored digital pictures.      The

  corresponding claimed features were not well-understood, routine or conventional as of the

  priority date of the Autonomous Vehicle Simulation Patent. See Ex. F (Decl. of Dr. Saber) at

  ¶¶60-72.

         73.74. Similarly, the system with the object/avatar performing the autonomous operation

  stores correlation between instructions for performing the operation with the stored object

  representations. When there is at least a partial match between the stored object representations

  and the current object representations, the operation is autonomously performed on an object

  and/or avatar that captured the current object representations that were matched to the stored

  object representations. The corresponding claimed features were not well-understood, routine or

  conventional as of the priority date of the Autonomous Vehicle Simulation Patent. See Ex. F

  (Decl. of Dr. Saber) at ¶¶60-72.

         74.75. With the innovations in the Autonomous Vehicle Simulation Patent, simulated

  autonomous device operation using a knowledgebase (e.g., a system including a neural network

  and previously learned object representations correlated with instructions) became possible. See,

  e.g., Ex. C (’134 Patent) at 103:8-104:64; Ex. F (Decl. of Dr. Saber) at ¶ 68. The corresponding




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  claimed features were not well-understood, routine or conventional as of the priority date of the

  Object Representation Patents. See Ex. F (Decl. of Dr. Saber) at ¶¶60-72.

         75.76. Thus, by utilizing the simulated autonomous device operating techniques

  disclosed in the Autonomous Vehicle Simulation Patent, an object/avatar, such as a simulated

  vehicle,   can   perform   autonomous      operations   based   on    previously   learned   object

  representations/pictures and instructions. For at least the above-mentioned reasons, the claimed

  inventions improve the capabilities of simulated autonomous devices that employ the systems

  and methods disclosed in the Autonomous Vehicle Simulation Patent. Further, the methods

  claimed in the Autonomous Vehicle Simulation Patent cannot be performed as mental steps by a

  human, nor do they represent the application of a generic computer to any well-known method of

  organizing human behavior.

         76.77. The claims of the Autonomous Vehicle Simulation Patent are directed to patent-

  eligible, non-abstract ideas in that they provide technical solutions to at least the technical

  problems described above. For instance, claim 1 of the Autonomous Vehicle Simulation Patent,

  as a whole, is inventive and novel, as are at least the herein identified claim limitations. See,

  e.g., Ex. C (’134 Patent) at claim 1 (“accessing a first correlation including a first one or more

  object representations correlated with a first one or more instruction sets for operating a first

  avatar of an application” and “causing … a second avatar of the application to perform one or

  more operations defined by the first one or more instruction sets for operating the first avatar of

  the application at least by executing the first one or more instruction sets for operating the first

  avatar of the application.”). As of the priority dates of the Autonomous Vehicle Simulation

  Patent, the concept of causing a simulated device to perform autonomous operation based on (i)

  pictures/representations of objects in the device’s simulated surrounding and (ii) previously




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  learned pictures/object representations and instructions was not well-understood, routine, or

  conventional. See Ex. F (Decl. of Dr. Saber) at ¶¶60-72. This is a vast improvement over the

  prior art discussed herein. Id. at ¶69.

         77.78. The claimed features unlocked the next level of autonomous driving. Ex. F (Decl.

  of Dr. Saber) at ¶ 70.         While fleet learning from the real-world pictures and object

  representations can work, there were still inhibiting limitations such as scale and uniqueness. Id.

  Regarding scale, the fleet is limited in its learning ability by the number of autonomous vehicles

  on the road that are conveying data back into the system. Id. Similarly, regarding uniqueness, the

  fleet is limited in what in can learn to what the monitored autonomous vehicles experience. The

  Autonomous Vehicle Simulation Patent address these issues by taking the concrete ideas found

  in the Object Representation and Digital Picture Representation Patents and move them into a

  simulation. Id. As discussed in the prosecution of both Autonomous Vehicle Simulation Patent,

  this was a completely novel idea as the prior art does not teach the details of object

  representations, avatars, determining instruction sets, and causing an avatar to perform

  operations as recited in the claims. Id.; see also id. at ¶ 61. By allowing the entire fleet to train

  the system, as discussed earlier, and allowing simulation of driving operations and situations,

  much more precise and appropriate autonomous driving became possible. Id. at ¶70. Thus, these

  simulations are crucial for safety before software it is released to physical vehicles because they

  allow for enormous testing and data collection, without the need to put anyone at risk. This

  promotes not only safer testing but safer software that is released to the vehicles.

         78.79. The claims of the Autonomous Vehicle Simulation Patent recite one or more

  inventive concepts rooted in computerized technology that overcome technical problems in that

  field. Id. at ¶71.   A person of ordinary skill in the art reading the Autonomous Vehicle




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  Simulation Patent and their claims would understand that the Autonomous Vehicle Simulation

  Patent’s disclosures and claims are drawn to solving specific technical problems arising in

  simulating artificially intelligent and autonomous devices and systems. Id. Accordingly, each

  claim of the Autonomous Vehicle Simulation Patent recite a combination of elements sufficient

  to ensure that the claim in practice amounts to significantly more than a patent claiming an

  abstract concept. Id. Further, the claimed improvements over the prior art are concrete and

  improve the capabilities of existing autonomous and AI systems. Id.

           79.80. A person of ordinary skill in the art reviewing the specification of the

  Autonomous Vehicle Simulation Patent would understand that the inventors had possession of

  the claimed subject matter and would know how to practice the claimed invention without undue

  experimentation. Id. at ¶72


                                  THE ACCUSED PRODUCTS

           80.81. The Autonomous Vehicle Patents are infringed by Tesla Fleet Vehicles, which

  includes at least Models S, 3, X, and Y, having software Version 9.0 and beyond. 29 These

  vehicles come equipped with “advanced hardware capable of providing Autopilot features, and

  full self-driving capabilities—through software updates designed to improve functionality over

  time.”




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     See, e.g., Tesla, Model S, https://www.tesla.com/models, (last visited November 3, 2022);
  Tesla, Model 3, https://www.tesla.com/model3 (last visited November 3, 2022); Tesla, Model X,
  https://www.tesla.com/modelx (last visited November 3, 2022); Tesla, Model Y,
  https://www.tesla.com/modely (last visited November 3, 2022).


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  Sources: Tesla, Autopilot, https://www.tesla.com/autopilot (last visited November 3, 2022);

  Tesla, Model Y, https://www.tesla.com/modely (last visited November 3, 2022).


         81.82. The Autonomous Vehicle Simulation Patent is infringed by Tesla’s AI training

  computer called “Dojo”. The Dojo computers allow Tesla to train the AI used in Tesla Fleet

  Vehicles using circumstance representations/pictures from the real world as well as simulations.




  Source: See Tesla, Tesla AI Day, YouTube (Aug. 19, 2021), https://www.youtube.com/watch?v=

  j0z4FweCy4M&t=3s.



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  Id.


         82.83. As discussed by Tesla CEO Elon Musk, “[Dojo] a super powerful training

  computer. The goal of Dojo will be to be able to take in vast amounts of data and train at a video

  level and do unsupervised massive training of vast amounts of video with the Dojo program – or

  Dojo computer.” 30 That data is fed by the Tesla Fleet Vehicles, which are all equipped with

  cameras and sensors that send data to the Dojo supercomputer.


                GENERAL ALLEGATIONS RELATED TO INFRINGEMENT

         83.84. Tesla has infringed and continues to directly and indirectly infringe at least the

  claims in Table 1 one claim of each of the Asserted Patents by engaging in acts constituting

  infringement under 35 U.S.C. § 271(a), (b), and/or (c), including but not limited to one or more

  of making, using, selling, offering for sale, importing, exporting, and inducing and contributing


  30
      Tesla, Tesla Autonomy Day, YouTube (Apr. 22, 2019), https://www.youtube.com/
  watch?v=Ucp0TTmvqOE; Fred Lambert, Elon Musk hints at Tesla’s not-so-secret Dojo AI-
  training supercomputer capacity, Electrek (Aug. 17, 2020), https://electrek.co/2020/08/17/elon-
  musk-tesla-secret- Dojo-ai-training-supercomputer/.


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  to infringement by others, the Accused Products in this District and elsewhere in the United

  States. See, e.g.¸ Exs. H-L (exemplary infringement charts for each of the Asserted Patents).

         84.85. Regarding the Asserted Patents, Tesla’s customers directly infringe by enabling

  the Software Version 9.0 and beyond 31 to run an infringing manner. Tesla induces such

  infringement by actively encouraging users to sign up for and use Tesla’s software on their

  vehicle’s as well as hold multiple customer oriented presentations about the advances in the

  software.




  31
    Tesla Fleet Vehicles running Tesla’s enhanced autopilot software and/or Tesla’s full self-
  driving software.


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  Source: Tesla, Autopilot, https://www.tesla.com/autopilot (last visited November 3, 2022).


         85.86. Tesla also induces infringement through its customer oriented presentations such

  as its Autonomous Day and AI Days which encourage users to purchase and use the self-driving

  technology in an infringing manner.




                                                 35
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  Source: See Tesla, Tesla AI Day, YouTube (Aug. 19, 2021), https://www.youtube.com/watch?v=

  j0z4FweCy4M&t=3s.




                                             36
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  Source: Tesla, Tesla Autonomy Day, YouTube (Apr. 22, 2019), https://www.youtube.com/

  watch?v=Ucp0TTmvqOE


         86.87. Tesla also induces infringement via its Mobile Application, which encourages

  users to purchase and use self-driving technology.




                                                 37
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  Source: Screenshots of Tesla’s application taken on iPhone 14 Pro using the Tesla application

  version 4.13.1.


         87.88. Tesla also induces infringement via the display in each Fleet Vehicle, which

  encourages users to purchase self-driving technology and directly infringe




                                                 38
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  Source: Images of Tesla Model Y taken Tesla’s Model Y user interface.


         88.89. As a result of Tesla’s direct and indirect infringement, Autonomous Devices has

  suffered and will continue to suffer harm in the form of reasonable royalties and/or lost profits.

  Autonomous Devices seeks damages for infringing acts beginning upon issuance of the Asserted

  Patents.

         89.90. On information and belief, Tesla had actual or constructive knowledge and notice

  of infringement as to each of the Asserted Patent. With notice of the Asserted Patents, Tesla has

  proceeded to directly infringe by making, having made, using, testing, designing, selling,

  offering to sell, and/or importing in this district and elsewhere in the United States, the Tesla

  Fleet Vehicles and the Dojo computer that infringe the Asserted Patents. Tesla has been placed

  on actual notice of the Asserted Patents at least as early as the filing of this Original Complaint.

  Additionally, the filing of this Original Complaint also constitutes notice in accordance with 35

  U.S.C. § 287.

         90.91. Tesla’s infringement of the Asserted Patents has been, and continues to be,

  without permission, consent, authorization, or license.




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                    COUNT ONE – INFRINGEMENT OF THE ’974 PATENT

          91.92. Autonomous Devices incorporates by reference the preceding paragraphs as

  though fully set forth herein.

          92.93. With knowledge of the ’974 Patent, Tesla has directly infringed, and continues to

  directly infringe, literally or under the doctrine of equivalents, at least claims 4-5, 14, and 15 at

  least independent claims 1 and 18 and dependent claim 14 of the ’974 Patent by making, testing,

  using, selling, and/or offering for sale its Vehicles with Infringing Software 32 in the United

  States, in violation of 35 U.S.C. § 271(a). See Ex. H; see also Autonomous Device’s

  Infringement Contentions.

          93.94. Tesla Fleet Vehicles, including Tesla Models S, 3, X, and Y, with Software

  Version 9.0 and beyond, meet each and every element of at least claims 4-5, 14, 151, 14 and 18

  of the ’974 Patent, either literally or equivalently.

          94.95. Tesla has had actual and/or constructive knowledge of the existence of the ’974

  Patent since no later the filing of this Original Complaint.

          95.96. With knowledge of the ’974 Patent, Tesla has indirectly infringed one or more

  claims thereof under 35 U.S.C. § 271(b) through the active inducement of direct infringement by

  intending to encourage, and in fact encouraging others to install Software Version 9.0 and

  beyond onto Tesla Models S, 3, X and Y sold and used within the United States in an infringing

  manner that practiced the inventions claimed by the ’974 Patent, including at least claims 4-5, 14,

  151, 14 and 18. Tesla has actively induced such direct infringement through its communications

  with customers, thereby providing, inter alia, functionality, instructions, and other assistance that

  have served to facilitate, promote, and cause drivers of Tesla Models S, 3, X and Y, and

  32
    Tesla Fleet Vehicles, including Tesla Models S, 3, X, and Y, with Software Version 9.0 and
  beyond.


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  potentially others yet unknown, to directly infringe at least claims 4-5, 14, 151, 14 and 18 of the

  ’974 Patent, as described in Ex. H and Autonomous Device’s Infringement Contentions. Upon

  information and belief, Tesla has performed the acts that constitute inducement of infringement

  with the knowledge or willful blindness that the resulting acts induced thereby would constitute

  direct infringement by drivers of Tesla Models S, 3, X, and Y, and/or potentially by others as yet

  unknown.

         96.97. With knowledge of the ’974 Patent, Tesla has also indirectly infringed one or

  more claims thereof under 35 U.S.C. § 271(c) by making, selling, offering for sale, using,

  making available for use, and/or importing within or into the United States its Software Version

  9.0 and beyond onto Tesla Models S, 3, X and Y, and/or potentially by others yet unknown,

  knowing that such devices and functionality are especially made or especially adapted for use in

  direct infringements of the ’974 Patent, including at least claims 4-5, 14, 151, 14, and 18 and

  knowing that such functionality is not a staple article or commodity of commerce suitable for

  substantial non-infringing use.

         97.98. As a direct and proximate consequence of Tesla’s infringement of the ’974 Patent,

  Autonomous Devices has suffered damages in an amount not yet determined for which

  Autonomous Devices is entitled to relief.


                   COUNT TWO – INFRINGEMENT OF THE ’344 PATENT

         98.99. Autonomous Devices incorporates by reference the preceding paragraphs as

  though fully set forth herein.

         99.100.         With knowledge of the ’344 Patent, Tesla has directly infringed, and

  continues to directly infringe, literally or under the doctrine of equivalents, at least claims 3-17

  independent claim 1 and dependent claim 3 of the ’344 Patent by making, testing, using, selling,



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  and/or offering for sale its Vehicles with Infringing Software in the United States, in violation of

  35 U.S.C. § 271(a). See Ex. I; see also Autonomous Device’s Infringement Contentions.

          100.101.        Tesla Fleet Vehicles, including Tesla Models S, 3, X, and Y, with

  Software Version 9.0 and beyond, meet each and every element of at least claims 3-17 1 and 3 of

  the ’344 Patent, either literally or equivalently.

          101.102.        Tesla has had actual and/or constructive knowledge of the existence of the

  ’344 Patent since no later than the filing of this Original Complaint.

          102.103.        With knowledge of the ’344 Patent, Tesla has indirectly infringed one or

  more claims thereof under 35 U.S.C. § 271(b) through the active inducement of direct

  infringement by intending to encourage, and in fact encouraging others to install Software

  Version 9.0 and beyond onto Tesla Models S, 3, X and Y sold and used within the United States

  in an infringing manner that practiced the inventions claimed by the ’344 Patent, including at

  least claims 3-171 and 3. Tesla has actively induced such direct infringement through its

  communications with customers, thereby providing, inter alia, functionality, instructions, and

  other assistance that have served to facilitate, promote, and cause drivers of Tesla Models S, 3, X

  and Y, and potentially others yet unknown, to directly infringe at least claims 3-171 and 3 of the

  ’344 Patent, as described in Ex. I and Autonomous Device’s Infringement Contentions. Upon

  information and belief, Tesla has performed the acts that constitute inducement of infringement

  with the knowledge or willful blindness that the resulting acts induced thereby would constitute

  direct infringement by drivers of Tesla Models S, 3, X, and Y, and/or potentially by others as yet

  unknown.

          103.104.        With knowledge of the ’344 Patent, Tesla has also indirectly infringed one

  or more claims thereof under 35 U.S.C. § 271(c) by making, selling, offering for sale, using,




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  making available for use, and/or importing within or into the United States its Software Version

  9.0 and beyond onto Tesla Models S, 3, X and Y, and/or potentially by others yet unknown,

  knowing that such devices and functionality are especially made or especially adapted for use in

  direct infringements of the ’344 Patent, including at least claims 3-171 and 3 and knowing that

  such functionality is not a staple article or commodity of commerce suitable for substantial non-

  infringing use.

         104.105.        As a direct and proximate consequence of Tesla’s infringement of the ’344

  Patent, Autonomous Devices has suffered damages in an amount not yet determined for which

  Autonomous Devices is entitled to relief.


                    COUNT THREE – INFRINGEMENT OF THE ’474 PATENT

         105.106.        Autonomous Devices incorporates by reference the preceding paragraphs

  as though fully set forth herein.

         106.107.        With knowledge of the ’474 Patent, Tesla has directly infringed, and

  continues to directly infringe, literally or under the doctrine of equivalents, at least independent

  claims 45-47,51-52, 56-57, 59-60, 68-69, 78, 80-81, and 84 45 of the ’474 Patent by making,

  testing, using, selling, and/or offering for sale its Vehicles with Infringing Software in the United

  States, in violation of 35 U.S.C. § 271(a). See Ex. K; see also Autonomous Device’s

  Infringement Contentions. Tesla Fleet Vehicles, including Tesla Models S, 3, X, and Y, with

  Software Version 9.0 and beyond, meet each and every element of at least claims 45-47,51-52,

  56-57, 59-60, 68-69, 78, 80-81, and 84 45 of the ’474 Patent, either literally or equivalently.

         107.108.        Tesla has had actual and/or constructive knowledge of the existence of the

  ’474 Patent since at least August 18, 2023, when Autonomous Devices provided notice of




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  infringement with an infringement chart to Tesla. With knowledge of the ’474 Patent and

  Tesla’s infringement since August 18, 2023, Tesla has also willfully infringed the ’474 Patent.

         108.109.        With knowledge of the ’474 Patent, Tesla has indirectly infringed one or

  more claims thereof under 35 U.S.C. § 271(b) through the active inducement of direct

  infringement by intending to encourage, and in fact encouraging others to install Software

  Version 9.0 and beyond onto Tesla Models S, 3, X and Y sold and used within the United States

  in an infringing manner that practiced the inventions of one or more claims of the ’474 Patent,

  including at least claims 45-47,51-52, 56-57, 59-60, 68-69, 78, 80-81, and 84 45. Tesla has actively

  induced such direct infringement through its communications with customers, thereby providing,

  inter alia, functionality, instructions, and other assistance that have served to facilitate, promote,

  and cause drivers of Tesla Models S, 3, X and Y, and potentially others yet unknown, to directly

  infringe at least claims 45-47,51-52, 56-57, 59-60, 68-69, 78, 80-81, 8445 of the ’474 Patent, as

  described in Ex. K and Autonomous Device’s Infringement Contentions. Upon information and

  belief, Tesla has performed the acts that constitute inducement of infringement with the

  knowledge or willful blindness that the resulting acts induced thereby would constitute direct

  infringement by drivers of Tesla Models S, 3, X, and Y, and/or potentially by others as yet

  unknown.

         109.110.        With knowledge of the ’474 Patent, Tesla has also indirectly infringed one

  or more claims thereof under 35 U.S.C. § 271(c) by making, selling, offering for sale, using,

  making available for use, and/or importing within or into the United States its Software Version

  9.0 and beyond onto Tesla Models S, 3, X and Y, and/or potentially by others yet unknown,

  knowing that such devices and functionality are especially made or especially adapted for use in

  direct infringements of the ’474 Patent, including at least claims 45-47,51-52, 56-57, 59-60, 68-




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  69, 78, 80-81, and 84 45 and knowing that such functionality is not a staple article or commodity

  of commerce suitable for substantial non-infringing use.

         110.111.        As a direct and proximate consequence of Tesla’s infringement of the ’474

  Patent, Autonomous Devices has suffered damages in an amount not yet determined for which

  Autonomous Devices is entitled to relief.


                   COUNT FOUR – INFRINGEMENT OF THE ’583 PATENT

         111.112.        Autonomous Devices incorporates by reference the preceding paragraphs

  as though fully set forth herein.

         112.113.        With knowledge of the ’583 Patent, Tesla has directly infringed, and

  continues to directly infringe, literally or under the doctrine of equivalents, at least independent

  claims 2, 4, 5, 9-19, 22, 24, 25, 27-29, 31, 33, and 34 4 of the ’583 Patent by making, testing,

  using, selling, and/or offering for sale its Vehicles with Infringing Software in the United States,

  in violation of 35 U.S.C. § 271(a). See Ex. J; see also Autonomous Device’s Infringement

  Contentions. Tesla Fleet Vehicles, including Tesla Models S, 3, X, and Y, with Software

  Version 9.0 and beyond, meet each and every element of at least claims 2, 4, 5, 9-19, 22, 24, 25,

  27-29, 31, 33, and 34 4 of the ’583 Patent, either literally or equivalently.

         113.114.        Tesla has had actual and/or constructive knowledge of the existence of the

  ’583 Patent since no later than the filing of this Original Complaint.

         114.115.        With knowledge of the ’583 Patent, Tesla has indirectly infringed one or

  more claims thereof under 35 U.S.C. § 271(b) through the active inducement of direct

  infringement by intending to encourage, and in fact encouraging others to install Software

  Version 9.0 and beyond onto Tesla Models S, 3, X and Y sold and used within the United States

  in an infringing manner that practiced the inventions of one or more claims of the ’583 Patent,



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  including at least claims 2, 4, 5, 9-19, 22, 24, 25, 27-29, 31, 33, and 34 4. Tesla has actively

  induced such direct infringement through its communications with customers, thereby providing,

  inter alia, functionality, instructions, and other assistance that have served to facilitate, promote,

  and cause drivers of Tesla Models S, 3, X and Y, and potentially others yet unknown, to directly

  infringe at least claims 2, 4, 5, 9-19, 22, 24, 25, 27-29, 31, 33, and 34 4 of the ’583 Patent, as

  described in Ex. J and Autonomous Device’s Infringement Contentions. Upon information and

  belief, Tesla has performed the acts that constitute inducement of infringement with the

  knowledge or willful blindness that the resulting acts induced thereby would constitute direct

  infringement by drivers of Tesla Models S, 3, X, and Y, and/or potentially by others as yet

  unknown.

         115.116.        With knowledge of the ’583 Patent, Tesla has also indirectly infringed one

  or more claims thereof under 35 U.S.C. § 271(c) by making, selling, offering for sale, using,

  making available for use, and/or importing within or into the United States its Software Version

  9.0 and beyond onto Tesla Models S, 3, X and Y, and/or potentially by others yet unknown,

  knowing that such devices and functionality are especially made or especially adapted for use in

  direct infringements of the ’583 Patent, including at least claims 2, 4, 5, 9-19, 22, 24, 25, 27-29,

  31, 33, and 34 4 and knowing that such functionality is not a staple article or commodity of

  commerce suitable for substantial non-infringing use.

         116.117.        As a direct and proximate consequence of Tesla’s infringement of the ’583

  Patent, Autonomous Devices has suffered damages in an amount not yet determined for which

  Autonomous Devices is entitled to relief.

                    COUNT FIVE – INFRINGEMENT OF THE ’134 PATENT




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         117.118.        Autonomous Devices incorporates by reference the preceding paragraphs

  as though fully set forth herein.

         118.119.        With knowledge of the ’134 Patent, Tesla has directly infringed, and

  continues to directly infringe, literally or under the doctrine of equivalents, at least independent

  claims 1-5, 7, 10-15, 18, 19-20 1 of the ’134 Patent by making, testing, using, selling, and/or

  offering for sale its Dojo supercomputer and/or Infringing Simulation Software in the United

  States, in violation of 35 U.S.C. § 271(a). See Ex. L; see also Autonomous Device’s

  Infringement Contentions.

         119.120.        The Dojo supercomputer alone or together with Tesla Simulation Software

  and the Tesla Fleet Vehicles, meet each and every element of at least claims 1-5, 7, 10-15, 18, 19-

  201 of the ’134 Patent, either literally or equivalently.

         120.121.        Tesla has had actual and/or constructive knowledge of the existence of the

  ’134 Patent since no later than the filing of this Original Complaint.

         121.122.        With knowledge of the ’134 Patent, Tesla has indirectly infringed one or

  more claims thereof under 35 U.S.C. § 271(b) through the active inducement of direct

  infringement by intending to encourage, and in fact encouraging others to use the Dojo

  supercomputer and/or Infringing Simulation Software. Tesla has actively induced such direct

  infringement through its communications with customers, thereby providing, inter alia,

  functionality, instructions, and other assistance that have served to facilitate, promote, and cause

  others to use the Dojo supercomputer and/or Infringing Simulation Software in an infringing

  manner that practiced the inventions of one or more claims of the ’134 Patent, including claims

  1-5, 7, 10-15, 18, 19-201, as described in Ex. L and Autonomous Device’s Infringement

  Contentions. Upon information and belief, Tesla has performed the acts that constitute




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  inducement of infringement with the knowledge or willful blindness that the resulting acts

  induced thereby would constitute direct infringement by users of the Dojo supercomputer and/or

  Infringing Simulation Software.

         122.123.        With knowledge of the ’134 Patent, Tesla has also indirectly infringed one

  or more claims thereof under 35 U.S.C. § 271(c) by making, selling, offering for sale, using,

  making available for use, and/or importing within or into the United States its Dojo

  supercomputer, Infringing Simulation Software, and/or potentially by others yet unknown,

  knowing that such devices and functionality are especially made or especially adapted for use in

  direct infringements of the ’134 Patent, including at least claims 1-5, 7, 10-15, 18, 19-20 1 and

  knowing that such functionality is not a staple article or commodity of commerce suitable for

  substantial non-infringing use.

         123.124.        As a direct and proximate consequence of Tesla’s infringement of the ’134

  Patent, Autonomous Devices has suffered damages in an amount not yet determined for which

  Autonomous Devices is entitled to relief.


                                       PRAYER FOR RELIEF

         WHEREFORE, Autonomous Devices respectfully requests that this Court enter judgment

  in its favor as follows and award it the following relief:

         A. Entry of judgment declaring that Tesla has directly infringed, induced others to

  infringe, and/or committed acts of contributory infringement with regard to one or more claims

  of each of the Asserted Patents;

         B. Entry of judgment declaring that Tesla’s infringement of U.S. Patent Nos. 11,663,474

  has been willful dating back to August 18, 2023, when Autonomous Devices served Tesla with

  an infringement contention chart for this patent.



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           C. An order awarding damages sufficient to compensate Autonomous Devices for Tesla’s

  infringement of the Asserted Patents, but in no event less than a reasonable royalty, including

  supplemental damages post-verdict, together with pre-judgment and post-judgment interest and

  costs;

           D. Enhanced damages pursuant to 35 U.S.C. § 284;

           E. Entry of judgment declaring that this case is exceptional and awarding Plaintiff its

  costs and reasonable attorney fees under 35 U.S.C. § 285;

           F. An accounting for acts of infringement;

           G. Such other equitable relief which may be requested and to which the Plaintiff is

  entitled; and

           H. Such other and further relief as the Court deems just and proper.

                                  DEMAND FOR A JURY TRIAL

           Autonomous Devices hereby respectfully requests a trial by jury of all issues so triable,

  pursuant to Federal Rules of Civil Procedure 38.

                                                    /s/ Karen E. Keller
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  OF COUNSEL:                                       Emily S. DiBenedetto (No. 6779)
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  Dated: September 29, 2023


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